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                                         UNITED STATES DISTRICT COURT
                                         FOR THE DISTRICT of COLORADO


                                                                  §                          FILED
                                                                                  UNITED STATES DISTRICT COURT
                                                                  §
                                                                                       DENVER, COLORADO
                                                                  §                         8:39 am, Jan 29, 2024
     (1) J. ALAN KONECNY                                          §                 JEFFREY P. COLWELL, CLERK
                                          Plaintiff,              §
                                                                  §
           vs.                                                    §
                                                                  §          Civil Case No. 24-CV-00
     (2)   OPTUM, INC. aka OPTUM SERVE                            §          Demand For Jury Trial
     (3)   PATRICIA D. HOROHO                                     §
     (4)   JEFFERY MERRIT                                         §
     (5)   U.S. DEPARTMENT OF VETERAN AFFAIRS                     §
     (6)   DENIS RICHARD MCDONOUGH                                §
                                 Defendants.                      §
                                                                  §
                                                                  §


         PLAINTIFF’S ORIGINAL COMPLAINT FOR CIVIL PENALTY, DECLARATORY AND
       INJUNCTIVE RELIEF, OTHER APPROPRIATE RELIEF, AND ORIGINAL PETITION FOR
                           ENFORCEMENT AND FOR SANCTIONS


    COMES NOW, J. Alan Konecny, Plaintiff, in the above-styled and numbered Cause, and presents these

    FEDERAL CIVIL ACTION against Defendants and for cause of same would state the following:

7. This is a multiple-violation Federal Civil Action with Demand For Jury Trial on behalf of the Plaintiff. This

   complaint is filed Pro Se by Plaintiff with outlined lawful expectations of this Court and Opposing Counsel

   as outlined herein. The right to appear pro se in a civil case in federal court is defined by statute 28 U.S.C. §

   1654.

8. Amendment Seven to the United States Constitution was ratified on December 15, 1791, which protects the

   right for citizens to have a jury trial in federal court regarding civil cases, it also prohibits judges in these

   trials from overruling facts revealed by the jury.

9. The Crimes and Torts as outlined herein have been perpetrated against Plaintiff by Defendants to include,

   but not limited to:

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          a. For Violation(s) of 42 U.S. Code § 12203 & 12133 & 12188 Americans With Disabilities Act

              of 1990

          b. For Violation of Federal Tort Claims Act: The Federal Tort Claims Act is a 1946 federal

              statute that permits private parties to sue the United States in a federal court for most torts

              committed by persons acting on behalf of the United States. Historically, citizens have not been

              able to sue the government — a doctrine referred to as sovereign immunity which does not

              protect these Defendants from Civil and Criminal prosecution.

          c. For Violation(s) of 18 U.S. Code § 1349 - Attempt and conspiracy

                                a. The law of inchoate crimes prohibits conduct preliminary to but directed

                                    toward the commission of a crime. The inchoate crimes are Attempt i.e.

                                    action toward the commission of a crime; Conspiracy i.e. agreement to

                                    commit a crime; and Solicitation i.e. incitement of another to commit a crime

                                    which all occurred against Plaintiff as outlined herein.

          d. For Negligence

          e. For Intentional Misconduct in Official Capacity and Title

          f. For Tortious Interference of A Contract & Breach of Contract

          g. For Violation(s) of The Civil Rights Act of 1964

                                a. Harassment is a form of medical discrimination that violates the Civil Rights

                                    Act of 1964, and the Americans with Disabilities Act of 1990, (ADA).

                                              JURISDICTION AND VENUE

10. The FEDERAL QUESTION has been satisfied to file this complaint in Federal Court. Plaintiff may file

   this lawsuit in federal court because the case is based on violations of federal law. 28 U.S.C. ¬ß 1331.

11. FEDERAL JURISDICTION exists pursuant to § federal venue statute, 28 U.S. Code § 1391 and 28 USC

   Section 139 and 28 U.S. Code § 1369 and 42 U.S. Code § 1395 And Title VI of The Civil Rights Act of

   1964 SEC. 601 and Title VI, 42 U.S.C. § 2000d

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12. These Defendants are liable pursuant to:

           h. § federal venue statute, 28 U.S. Code § 1391 and 28 U.S. Code § 1369 - Multiparty, multi-

               forum jurisdiction

           i. For Violation of The Civil Rights Act of 1964 § 7, 42 U.S.C. § 2000e et seq (1964)

           j. For Violation of The Americans With Disabilities Act of 1990, Pub. L. No. 101-336, 104 Stat.

               328 (1990),

13. The acts giving rise to the violations are Federal Civil Rights violations, Federal Americans With

   Disabilities Act violations and These Defendants are liable pursuant to § federal venue statute, 28 U.S.

   Code § 1391 and 28 USC Section 139 and 28 U.S. Code § 1369 and 42 U.S. Code § 1395 And Title VI of

   The Civil Rights Act of 1964 SEC. 601 and Title VI, 42 U.S.C. § 2000d.

14. Venue is proper pursuant to:

       k. 28 U.S.C. § 1391(e)(1)(B) because a substantial part of the events or omissions giving rise to the

           claim occurred here.

15. Because this lawsuit is based on violations of Federal Law, it does not matter how much or how little

   Plaintiff claims in damages, although Plaintiff's actual financial losses, before damages, time, and restitution

   is awarded, exceed $100,000 USD.

16. Plaintiff has exhausted all administrative remedies.

17. Constitutional Amendments – Amendment 7 – “The Right to Jury Trial in Civil Affairs” Amendment Seven

   to the Constitution was ratified on December 15, 1791. It protects the right for citizens to have a jury trial in

   federal courts with civil cases WITHOUT INLUENCE AND CONTROL BY SAME COURT OF LAW.

                                                      THE PARTIES

18. Plaintiff, J Alan Konecny was the Founder / Owner of Brand Development Partners, a disabled USCG

   Veteran-owned Colorado USA based specialty-food brand development company 125 W Virginia Ave #265

   Gunnison CO 81230 970-452-9378 alan@branddevelopmentpartners.com




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19. U.S. Department Of Veteran Affairs 1600 Pennsylvania Avenue NW, Washington, DC 20500 (202) 456-

   1111

20. DENIS RICHARD MCDONOUGH 1600 Pennsylvania Avenue NW, Washington, DC 20500 (202) 456-

   1111

21. OPTUM, INC. aka OPTUM SERVE 11000 Optum Cir, Eden Prairie, MN 55344

22. PATRICIA D. HOROHO 11000 Optum Cir, Eden Prairie, MN 55344

23. JEFFERY MERRIT 11000 Optum Cir, Eden Prairie, MN 55344 jtmerrittpsyd@gmail.com and q-

   global@mail.services.pearsonclinical.com

                                                      BACKGROUND

24. According to CENSUS.GOV at the end of 2022, U.S. military Veterans aligned to the below

   demographics by Race to total US Veterans 2022:

                                a. “72.3% White”

                                b. “12.4% African American”

                                c. “8.6% Hispanic or Latino”

                                d. “2.1% Asian American”

                                e. “.8% American Indian”

25. According to CENSUS.GOV at the end of 2022, U.S. military Veterans aligned to the below

   demographics by Sex to total Veterans 2022:

                                f. “90% Male”

                                g. “10% Female”

26. Defendants purposely, knowingly, recklessly, and negligently committed the torts and crimes outlined

   herein the above styled and numbered Federal Complaint. The terms “purposefully,” “knowingly,”

   “recklessly,” and “negligently” are the different degrees of culpability that are clearly outlined herein.

27. These defendants are guilty of Negligence and For Intentional Misconduct in Official Capacity and Title

   by denying Plaintiff’s contractual Right’s to medical care for this Plaintiff’s service to his Country as an

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   EMT / rescue swimmer in the US Coast Guard which resulted in injuries including TBI, traumatic brain

   injuries, UNTREATED BY VA TO DATE.

28. This Plaintiff requested medical attention from the Plano Texas VA “Community Care” center and was

   repeatedly rejected and forced to use emergency room “ERs” attached to hospitals like HCA, Inc., the

   largest for profit “healthcare” provider in America with over 3000 corporations rolling up to HCA, Inc’s

   financial statements, Plaintiff tried to receive simple care like removal of a cactus thorn from VA Plano

   Texas Clinic and was rejected which caused the mistreatment nightmare at HCA, Inc’s Medical City

   Plano Emergency Room resulting in over >$26,000 in charges (over charges) to the VA without correct

   medical treatment or relief from the cactus thorn as outlined in 23-CV-03396, 4:22-CV0327, 4:22-CV-

   0442, 429-00414-2022, the extreme lack of care from the VA Community Care Clinic network,

   shanghaied (induced to do something by means of fraud or coercion) by these Defendants for their

   personal gain, which attributed to this Plaintiff filing endless litigation against HCA, Inc. for stealing from

   the US Government through the VA without providing correct services.

29. Defendants ignored their legal responsibility to provide ADA compliant communication with this

   Plaintiff, and they refused to follow up with Complaints by Plaintiff.

30. This Plaintiff also recently visited BOULDER COMMUNITY HEALTH Emergency Room “ER” in

   Boulder Colorado and was completely refused any treatment because they thought that this Plaintiff had

   no medical insurance when he presented his “VA medical Insurance” information which the private

   medical community does not want or know how to use as witnessed by this Plaintiff repeatedly.

   Additionally, the criminal liability of providing wrong / heavy drugs to Veterans with TBI terrifies

   private healthcare companies’ legal departments.

31. Plaintiff to this Cause asked Boulder Community Health’s’ ER department to simply help with severe

   allergies from recent mold exposure and shortness of breath which triggered prefrontal cortex disruption

   that induces intense “fight or flight” responses in this Plaintiff from service related TBI which the ER

   “doctor” did nothing to relieve. This ER doctor not only refused care to this Plaintiff but treated him as an

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   un-insured piece-of-shit and this Plaintiff was treated like a rabid dog and as if he was trying to get away

   with something other than what was being reported as illness. This is another example of how the VA

   must be the primary source of real medical treatments for veterans with service related injuries which

   these Defendants prevented by stealing the VA medical services for others these Defendants hold to a

   higher regard.

32. Plaintiff has been refused real treatment for TBI because of the Defendant VA’s and Defendant Optum’s

   collusion to deny the lawful execution of this Plaintiff’s contract with the VA and Federal Government to

   provide this Plaintiff medical care – medical care, free from harassment.

33. As with the Plano Texas VA Community Clinic that forced this Plaintiff to use a worthless private ER,

   this Plaintiff had another severe attack of the prefrontal cortex “fight or flight” service related TBI which

   is debilitating if not treated, while traveling through New Mexico. This Plaintiff went to the VA

   Community Clinic in Raton, New Mexico, in a fully triggered state, and was AGAIN denied all and any

   medical treatment from the EMPTY VA Community Clinic in Raton, New Mexico and was told to go

   next door to the ER at the hospital next door where this Plaintiff was denied all medical treatment from the

   angriest “doctor’ that verbally assaulted this Plaintiff repeatedly, accused this Plaintiff of bizarre

   premeditations and refused all treatment… the only advice was to “breathe through lips”. The angry

   doctor told this Plaintiff that I.V.s, decongestants, vitamins, and medications are “in short supply” and

   “for others” (July 2023 no shortages existed in the supply chain for anything this Plaintiff required as

   treatment) and refused to treat this disabled Veteran for real TBI / Allergy related severe issues.

34. The above issues are directly connected to the VA’s misdirection of funds and purpose while running

   willfully headfirst into their collusion and racketeering operations with Defendant Optum and their illegal

   causing injuries to US Veterans by not taking seriously Veterans health care appointments.

35. This Plaintiff still has not received treatment and currently suffers from chronic stress related to constant

   allergy induced fight or flight related to service injuries completely untreated by VA after 4 years of

   repeated requests for same and TBI and PTSD.

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36. This Plaintiff is filing Federal litigation against the Raton New Mexico hospital Miners' Colfax Medical

   Center post haste to address these issues similar to 23-CV-03047 in this Court against Boulder

   Community Health.

37. The Secretary of Veterans Affairs sent an email yesterday, 1-18-24, outlining “On behalf of all
    Department of Veterans Affairs (VA) staff, I want to thank you for allowing us to serve you. We want you
    to experience the best care and service possible in a place that is healing, safe, and welcoming.
    Maintaining the safety and well-being of you, your caregivers, and other visitors and staff is of the utmost
    importance to us. It is crucial that our medical facilities, staff offices, regional benefits offices, and the
    sacred grounds of our cemeteries are places where we are all considerate of one another and treat each
    other with civility and respect. Although most of us recognize how our words and actions affect one
    another, there is still more we can collectively do to promote a culture of respect and safety. VA is serious
    about its long-standing anti-harassment and anti-sexual assault policy. Although legislation, policies, and
    programs chart the way forward, we need your help to meet the ongoing challenges of ensuring we
    maintain a safe and welcoming environment for all. Let us continue to unite to treat others with dignity
    and respect. One way you can help is to take the online Bystander Intervention Training for Veterans
    at www.veterantraining.va.gov/bystandertraining, which includes practical techniques to enable you to
    feel confident in your ability to know if harassment or sexual assault is taking place; how to get help; and
    what to do or say to help prevent the situation from escalating. Also, I ask you to consider joining
    thousands who have taken the White Ribbon VA pledge. This pledge is your promise to never commit,
    excuse, or stay silent about sexual harassment, sexual assault, or domestic violence. I encourage you take
    the pledge today at www.va.gov/health/harassment-free. If you or someone you know has been harassed
    or sexually assaulted at a VA facility, I encourage you to report the harassment or sexual assault following
    the guidance found at www.va.gov/report-harassment. I recognize reporting may feel uncomfortable, but
    we are trained to help you and to ensure that you, or others who may have been harmed, are offered health
    care support and resources. We are working continually to improve reporting processes and want you to
    know there is no wrong door for reporting. Please refer to the enclosed brochure for additional
    information. Thank you for choosing VA as the place to receive your benefits and services. Our
    commitment to you is to ensure that you and everyone entering our facilities are treated with dignity and
    respect in a safe and welcoming environment. Sincerely, Denis McDonugh”

38. This Plaintiff suffered racial discrimination at the VA Hospitals


39. Because of Defendant Optum felonious behavior, the VA is not focused on Veterans which are denied

   correct medical treatment and available social services from the VA because they are ignored by VA

   contractors like Optum Serve aka Optum.


40. These Defendants are liable pursuant to:

                 a. For Violation of The Civil Rights Act of 1964 § 7, 42 U.S.C. § 2000e et seq (1964)

                 b. For Violation of The Americans With Disabilities Act of 1990, Pub. L. No. 101-336,

                     104 Stat. 328 (1990),
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                c. For Violation of Federal Tort Claims Act

                d. For Negligence

                e. For Intentional Misconduct in Official Capacity and Title

                f. For Violation Of Racketeer Influenced And Corrupt Organizations - 18 USC Section

                     1961-68 “Also known as racketeer influenced and corrupt organizations (RICO),” is one

                     of the most sweeping statutes ever passed by congress, incorporating by reference 24

                     separate types of federal crimes and eight types of state felonies. While not creating a

                     new type of substantive crime, RICO declares that any individual committing any two of

                     a variety of specified offenses is guilty of 'racketeering activity' and is subject to severe

                     penalties.

                g. For Tortious Interference of A Contract & Breach of Contract

41. For Violation of The CONSTITUTIONAL AMENDMENTS DUE PROCESS CLAUSE provides

  assurance that all levels of government in the U.S. must operate within the law and provide fair

  procedures, i.e.

           l. The Fifth Amendment says to the federal government that no one shall be "deprived of life,

               liberty or property without due process of law” as these Defendants have deprived this

               Plaintiff on many occasions over 30 years.

           m. The Fourteenth Amendment, ratified in 1868, uses the same eleven words, called the DUE

               PROCESS CLAUSE, to describe a legal obligation of all states. It implements safeguards

               before the government may deprive any citizen of his or her rights to life, liberty, or property

               as illegally perpetrated REPEATEDLY by the Defendants against this Plaintiff.

           n. These defendants knowingly and purposely disregarded this Plaintiff’s lawful request for

               medical treatment which have occurred here.

           o. Types of Due Process that were violated repeatedly and for Illegal Purpose(s), TORTS, and

               Crime:

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                          i. Due process clauses in the 5th and 14th U.S. Constitutional Amendments provide

                              two distinct limitations on government and were violated by Defendants –

                         ii. Procedural due process requires the government to follow certain procedures

                              before depriving a person of life, liberty, or property. These Defendants willfully

                              violated Plaintiff’s DUE PROCESS RIGHTS as witnessed.

                         iii. Substantive due process allows courts to determine whether the government has

                              sufficient justification for its actions and to protect certain fundamental rights of

                              U.S. CITIZENS, PLAINTIFF’s RIGHTS that were and are VIOLATED BY

                              THESE DEFENDENTS.

42. Plaintiff was denied Procedural due process of law before Plaintiff’s CONTRACTUAL VA BENEFITS

   HAVE BEEN DENIED through RICO operations purposely orchestrated by these Defendants..

43. Plaintiff is asking for relief of THE UNDIFINED HARRASEMENT and DEFINED HARRAESMNT

44. Plaintiff included “OPPOSING COUNSEL CONDUCT EXPECTATIONS” and “JUDICIAL

   EXPECTATIONS” i.e. CANONS in every complaint filed in this Court as referenced above herein and

   below:

                              OPPOSING COUNSEL CONDUCT EXPECTATIONS
45. The Plaintiff is asking all Counsel, opposing Counsel, Lawyers, legal aids, legal employees, and
    like professionals to follow the below “Best Practices and Rules of Civil Procedure” as outlined
    below and Plaintiff has expectations of opposing counsel to specifically follow the below Code of
    Conduct for and “Rules of Civil Procedure” as specifically outlined herein below:
             p.      QUOTE: “According to the Colorado Faculty of Federal Advocates and their “Best
         Practices in Pro Se Party Litigation” dated February 13, 2020, in conjunction with the
         Colorado Bar Association in coordination with the U.S. District Court for the District of
         Colorado”:

            “Pro se litigation can be challenging for everyone involved. Pro se litigants are to be held to
        the same standards as lawyers but may struggle with the complexities of federal court litigation.
        Judges and opposing attorneys may struggle to find an appropriate balance between holding pro
        se parties accountable to applicable rules and procedure and affording them a measure of leeway
        since they are unrepresented. This panel will offer perspectives from all sides and insight into
        best practices for giving these cases their best opportunity to move forward as smoothly as
        possible.”

            “In addition to fulfilling all one’s ethical duties (e.g., candor toward the tribunal and
        truthfulness), reasonableness is a good guiding principle when deciding what positions to take
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    before the court. (10th Cir. 1991). But it is improper for the court to assume the role of advocate
    for the pro se litigant.”

        “Despite the liberal construction afforded pro se pleadings, courts will not construct
    arguments or theories for a pro se party by supplying additional facts or constructing legal
    theories that assume facts never pleaded. Dunn v. White, 880 F.2d 1188, 1197 (10th Cir. 1989),
    cert. denied, 493 U.S. 1059 (1990).”

         “Pro se litigants should be afforded deference in the form of “occasional allowances by the
    court for honest mistakes [which] provide leeway for plaintiffs who are not trained in the law
    and do not have representation. This deference, though, should be balanced with potential abuse
    ... and constant delays in the judicial system.” Brewer v. DKD Elec. Co., “Civ. No. 02-0407
    LH/RLP, 2004 WL 6218811, at *2–3 (D.N.M. June 14, 2004); see also Wallin v. Sygma
    Network, No. 18-cv-01097-DDD-SKC, 2019 WL 6702066 (D. Colo. Nov. 18, 2019), report and
    recommendation adopted, No. 18-cv-01097-DDD-SKC, 2019 WL 6700434 (D. Colo. Dec. 9,
    2019).”

       “Traditional” litigation and discovery tactics may be unnecessary and less effective
    with a pro se litigant and may only serve to exacerbate issues in the case.”

         “A pro se litigant's pleadings should be construed liberally and held to a less stringent
    standard than formal pleadings drafted by lawyers. Hall v. Bellmon, 935 F.2d 1106”.
         “Don’t shy away from trying to settle these cases with the assistance of a third- party. Pro se
    litigants may start with highly unrealistic expectations of what a victory or settlement should
    look like. A third-party can reset those expectations with a dose of reality that aids in settling the
    case.”

        “Colorado Rules of Professional Conduct Implicated In Pro Se Litigation Rules of
    Prof.Cond., Rule 4.1” Rule 4.1. Truthfulness In Statements To Others
        In the course of representing a client a lawyer shall not knowingly: (a) make a false statement
    of material fact or law to a third person; or fail to disclose a material fact to a third person when
    disclosure is necessary to avoid assisting a criminal or fraudulent act by a client, unless disclosure
    is prohibited by Rule 1.6”

        “RULE 4.3. DEALING WITH UNREPRESENTED PERSON Effective: December 1, 2019
        In dealing on behalf of a client with a person who is not represented by counsel, a lawyer
    shall not state or imply that the lawyer is disinterested. When the lawyer knows or reasonably
    should know that the unrepresented person misunderstands the lawyer's role in the matter, the
    lawyer shall make reasonable efforts to correct the misunderstanding. The lawyer shall not give
    legal advice to an unrepresented person, other than the advice to secure counsel, if the lawyer
    knows or reasonably should know that the interests of such a person are or have a reasonable
    possibility of being in conflict with the interests of the client.”

        “RULE 4.4. RESPECT FOR RIGHTS of THIRD PERSONS Effective: December 1, 2019
        (a) In representing a client, a lawyer shall not use means that have no substantial purpose
    other than to embarrass, delay, or burden a third person, or use methods of obtaining evidence
    that violate the legal rights of such a person.”
        “Rules of Prof. Cond., Preamble PREAMBLE: A LAWYER’S RESPONSIBILITIES
        A lawyer, as a member of the legal profession, is a representative of clients, an officer of the
    legal system and a public citizen having special responsibility for the quality of justice.
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            With limited exceptions, the Colorado Rules of Professional Conduct have been adopted as
        standards of professional responsibility for the U.S. District Court and the U.S. Bankruptcy Court
        for the District of Colorado. See D.C.COLO.LAttyR 2.”

            “As a public citizen, a lawyer should seek improvement of the law, access to the legal system,
        the administration of justice and the quality of service rendered by the legal profession. As a
        member of a learned profession, a lawyer should cultivate knowledge of the law beyond its use
        for clients, employ that knowledge in reform of the law and work to strengthen legal education.”

            “In addition, a lawyer should further the public's understanding of and confidence in the rule
        of law and the justice system because legal institutions in a constitutional democracy depend on
        popular participation and support to maintain their authority. A lawyer should be mindful of
        deficiencies in the administration of justice and of the fact that the poor, and sometimes persons
        who are not poor, cannot afford adequate legal assistance. Therefore, all lawyers should devote
        professional time and resources and use civic influence to ensure equal access to our system of
        justice for all those who because of economic or social barriers cannot afford or secure adequate
        legal counsel. A lawyer should aid the legal profession in pursuing these objectives and should
        help the bar regulate itself in the public interest.”

             “(The Lawyers) Your role as counsel of record and as an officer of the court is to manage
        litigation in a manner “to secure the just, speedy, and inexpensive” determination of litigation.
        Fed. R. Civ. P. 1.

            “As a public citizen, a lawyer should seek improvement of the law, access to the legal system,
        the administration of justice and the quality of service rendered by the legal profession. As a
        member of a learned profession, a lawyer should cultivate knowledge of the law beyond its use
        for clients, employ that knowledge in reform of the law and work to strengthen legal education.
        In addition, a lawyer should further the public's understanding of and confidence in the rule of
        law and the justice system because legal institutions in a constitutional democracy depend on
        popular participation and support to maintain their authority. A lawyer should be mindful of
        deficiencies in the administration of justice and of the fact that the poor, and sometimes persons
        who are not poor, cannot afford adequate legal assistance. Therefore, all lawyers should devote
        professional time and resources and use civic influence to ensure equal access to our system of
        justice for all those who because of economic or social barriers cannot afford or secure adequate
        legal counsel. A lawyer should aid the legal profession in pursuing these objectives and should
        help the bar regulate itself in the public interest.”


            “A lawyer shall not make a statement that the lawyer knows to be false or with reckless
        disregard as to its truth or falsity concerning the qualifications or integrity of a judge,
        adjudicatory officer or public legal officer or of a candidate for election, or appointment to, or
        retention in, judicial or legal office.”


                                     JURDICIAL CONDUCT EXPECTATION

46. The Plaintiff is asking this Court and has expectations of this Court to specifically follow the below
    “Code of Conduct for United States Judges as specifically outlined in 5 Canons in the United States
    Judiciary Policy Code of Conduct for United States Judges” as defined in part herein below:
            q.       “Canon 1: A Judge Should Uphold the Integrity and Independence of the Judiciary”
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            r.      “Canon 2: A Judge Should Avoid Impropriety and the Appearance of Impropriety in
        All Activities”
            s.      “Canon 3: A Judge Should Perform the Duties of the office Fairly, Impartially and
        Diligently.”
            t.      “Canon 4: A Judge May Engage in Extrajudicial Activities That Are Consistent With
        the Obligations of Judicial office”
            u.      “Canon 5: A Judge Should Refrain From Political Activity”

47. “The Code of Conduct for United States Judges was initially adopted by the Judicial Conference on
    April 5, 1973, and was known as the “Code of Judicial Conduct for United States Judges.” See: JCUS-
    APR 73, pp. 9-11 forward questions concerning this Code and its applicability should be directed to
    the Chair of the Committee on Codes of Conduct by as follows: Chair, Committee on Codes of
    Conduct c/o General Counsel Administrative office of the United States Courts Thurgood Marshall
    Federal Judiciary Building One Columbus Circle, N.E. Washington, D.C. 20544 202-502-1100
    Procedural questions may be addressed to: office of the General Counsel Administrative office of the
    United States Courts Thurgood Marshall Federal Judiciary Building One Columbus Circle, N.E.
    Washington, D.C. 20544 202-502-1100”


                                      SCIENTER AND SCHEME ALLEGATIONS

48. SCIENTER in this case refers to the Defendants culpable state of mind. In other words, scienter is the

   Defendant's knowledge that their acts and conduct is wrongful, and Defendants had intent to act despite this

   knowledge. Defendants CULPABLE MENTAL STATES are illustrated by their intentional actions of and

   with respect to the nature of their conduct and as a result of their conduct and it was their conscious

   objective and desire to engage in this conduct and cause the result as outlined herein.

49. Defendants purposely, knowingly, recklessly, and negligently committed the torts and crimes outlined

   herein the above styled and numbered Federal Complaint. The terms “purposefully,” “knowingly,”

   “recklessly,” and “negligently” are the different degrees of culpability that are clearly outlined herein.

50. Defendant JEFFREY MERRITT requested Plaintiff to complete questionnaire #50393534. “To complete

   the questionnaire, please click the following link:” Plaintiff complied and answered the “new hire” psych

   evaluation the same way Plaintiff has for 17 years. Plaintiff was ignored and refused VA services because

   Defendant Jeffrey Merritt was too busy with other priorities during a “1.5 hour” video psych elevation for

   Plaintiff’s PTSD, Defendant did not conduct an actual PTSD evaluation… AGAIN Defendant was not in

   the video conference most of the time after coming 14 minutes late, it appeared Defendant had another job


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   in the background of the video conference and that job was more important than this Plaintiff’s medical

   treatment and PTSD relief. Defendant was obnoxiously deficient in process and reporting to the VA.

51. These defendants are guilty of Negligence and For Intentional Misconduct in Official Capacity and Title

   by denying Plaintiff’s contractual Right’s to medical care for this Plaintiff’s service to his Country as an

   EMT / rescue swimmer in the US Coast Guard which resulted in injuries including, PTSD from TBI,

   traumatic brain injuries, UNTREATED BY VA TO DATE.

52. Defendants failed to provide reasonable accommodations to prevent the abuse of DISABLED VETERAN

   PLAINTIFF in direct violation of the Americans with Disabilities Act of 1990.

53. Defendants conspired to hold hearings and did hold hearings WITHOUT informing Plaintiff of the

   HEARINGS as required by Federal LAW and is a direct violation of the RULES OF CIVIL

   PROCEDURE and violates Texas State Bar Rules and Federal and State Law.

54. Defendants are guilty of intimidating, threatening, abuse, and harmful conduct of the Plaintiff– meaning,

   but is not limited to, the following conduct and intentional infliction of:

                 a. Defendants are guilty of causing Serious injury and illness - meaning an Injury or Illness

                     incurred as a direct or in direct result of the Defendants wrongdoing

                 b. Defendants are guilty of Moral turpitude - meaning conduct that is wrong in itself even if

                     no statute were to prohibit the conduct

                 c. Defendants are guilty of Serious Misconduct

                 d. Defendants are guilty of Willful Misconduct – meaning intentional disregard of good and

                     prudent standards of performance or proper conduct under the Contract with knowledge

                     that it is likely to result in any injury to any person or persons or loss or damage of

                     property.

                 e. Defendants are guilty of Intentional Wrongdoing meaning an act or omission taken or

                     omitted by a Party with knowledge or intent that injury or damage could reasonably be

                     expected to result against the Plaintiff.

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             f. Defendants are guilty of Actual Willful MISCONDUCT - meaning any action or

                 omission by the DEFENDANTS that was not in good faith and without a reasonable

                 belief that the action or omission was in the best interests of the Plaintiff or his children.

             g. Defendants are guilty of Harassment, intimidation, and bullying - meaning any gesture,

                 any written, verbal or physical act, or any electronic communication, whether it be a

                 single incident or a series of incidents that the Defendants are guilty of willful, repeated

                 Harassment, intimidation, and bullying of the Plaintiff.

             h. Defendants are guilty of Official misconduct - meaning intentional, unlawful behavior

                 relating to official duties by a government contractors, employee or department secretary

                 entrusted with the administration of Veteran Service. The term includes an intentional or

                 corrupt failure, refusal, or neglect of a Trustee / Lawyer / Judge / Court Clerk to perform

                 a duty imposed on the Trustee / government employee or department secretary by law or

                 conviction of an offense relating to violation of the LAW.

        v. Types of Due Process that were violated repeatedly and for Illegal Purpose(s), TORTS, and

            Crime:

                            a.   Due process clauses in the 5th and 14th U.S.

         Constitutional Amendments provide two distinct limitations on government

         and were violated by Defendants –

                            b.   Procedural due process requires the government to follow

         certain procedures before depriving a person of life, liberty, or property. These

         Defendants willfully violated Plaintiff’s DUE PROCESS RIGHTS as

         witnessed.

                            c.   Substantive due process allows courts to determine

         whether the government has sufficient justification for its actions and to protect




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             certain fundamental rights of U.S. citizens, PLAINTIFF’s RIGHTS that were

             VIOLATED BY THE DEFENDENTS.

55. Plaintiff was denied Procedural due process of law before removal of contractual obligations of the

   Veterans Affairs to this Plaintiff including:

                                a. Denied Notice and the opportunity to be heard

                                b. Denied Hearing before an impartial person

                                c. Denied Calling witnesses on one’s behalf

                                d. Denied Cross-examination of witnesses

                                e. Denied Reasons based on evidence

                                f. Denied Transcript of the proceeding

                                g. Denied Opportunity to appeal the decision

56. Plaintiff seeks Compensatory damages; as requested by Plaintiff

57. Plaintiff seeks Lost profits; as requested by Plaintiff

58. Plaintiff seeks Punitive damages, as requested by Plaintiff

59. Plaintiff seeks Lost wages; as requested by Plaintiff

60. Plaintiff seeks Expectation damages; and Restitutionary damages in order to prevent unjust enrichment of

   the defendants.

61. Punitive Damages: The plaintiff also demands to recover punitive damages, which are assessed to punish

   the Defendants, for Actual fraud, malice, oppression

62. Defendants are criminally guilty and civilly liable for their intentional malicious actions as described and

   outlined above.

63. PLAINTIFF DEMANDS A TRIAL BY JURY

                                                FIRST CLAIM FOR RELIEF

       For Violation(s) of 42 U.S. Code § 12203 & 12133 & 12188 Americans With Disabilities Act of 1990

                                                      Against All Defendants

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64. In 1990, finding that discrimination against individuals with disabilities persists in such critical areas as the

   Legal Process, Congress passed the Americans Disabilities Act (ADA). Congress included the remedies

   provided in the Civil Rights Act of 1964 (1964 CRA) to enforce the ADA.

65. Plaintiff incorporates by reference ¶¶ 1-67.

66. Each of the defendants: (a) knew or had access to the material non-public information; and (b) participated

   in drafting, reviewing and/or approving the misleading statements.

67. Defendants, with knowledge of or reckless disregard for the truth, disseminated or approved the false

   statements specified above, which were misleading in that they contained misrepresentations and failed to

   disclose material facts necessary in order to make the statements made, in light of the circumstances under

   which they were made, not misleading.

68. Defendants violated The Americans with Disabilities Act Of 1990 in that they:

    a. Employed devices, schemes, and artifices to defraud and willfully cause mental trauma against

        Plaintiff.

    b. Made untrue statements of material facts or omitted to state material facts necessary in order to make

        the statements made, in light of the circumstances under which they were made, not misleading; or

    c. Engaged in acts, practices and a course of business that operated as a fraud or deceit upon plaintiff in

        connection with these legal proceedings.

69. Plaintiff has suffered damages related to the policies and procedures conspired by the Defendants and willful

   neglect of FEDERAL LAW

70. Plaintiff prays for relief from the schemes and harassment outlined.

71. Plaintiff prays for swift relief as required by Federal Law.

72. Imposition of enforcement and sanctions are just and proper

73. Plaintiff prays for such other relief to which Plaintiff may be justly entitled.

74. Plaintiff prays for Damages which include pain, suffering, anguish, intentionally inflicted harm.




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75. Plaintiff prays for Exemplary Damages: The conduct committed by Defendant(s) against Plaintiff is the type

    of conduct evidencing actual malice on Defendant(s) part that allows the imposition of exemplary damages.

    Plaintiff additionally brings this suit for these damages, which exceed the minimum jurisdictional limits of

    State court.

76. Plaintiff prays that the citation and notice issue as required by law and that the Court grant injunctions,

    enforcement, sanctions, and all other relief requested in this petition.

77. Plaintiff prays that, on hearing, the Court enter a permanent injunction enjoining Defendant(s), in

    conformity with the allegations of this petition, from the acts set forth above.

78. Plaintiff prays for judgment against Defendants in the sum exceeding the minimum jurisdictional limits of

    this court for actual damages as alleged, for exemplary damages, for costs of court, loss-of-income and for

    general relief.

79. Plaintiff prays for fees, expenses, costs, loss of income and all legal fees.

80. Plaintiff prays for general relief and safety.

                                               SECOND CLAIM FOR RELIEF

                                          For Violation of Federal Tort Claims Act

                                                       Against All Defendants

81. Plaintiff requires the remedies provided in the Federal Tort Claims Act and Federal Law to compensate for the

    Crime(s) and Torts by the Defendants outlined within.

82. Plaintiff incorporates by reference ¶¶ 1-84.

83. Each of the defendants: (a) knew or had access to the material non-public information about this Complaint

    and related Federal Complaints.

84. Defendants, with knowledge of or reckless disregard for the truth, disseminated or approved the false

    statements specified above, which were misleading in that they contained misrepresentations and failed to

    disclose material facts necessary in order to make the statements made, in light of the circumstances under

    which they were made, not misleading.

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85. Plaintiff has suffered damages related to the policies and procedures conspired by the Defendant(s) and

    willfully executed by Defendants.

86. By reason of such wrongful conduct, the Individual Defendants are liable pursuant to The Rules of Civil

    Procedure. As a direct and proximate result of these Defendants’ wrongful conduct, Plaintiff suffered

    damages in connection with the improper legal mistreatment received here.

87. Plaintiff prays for relief from the schemes and harassment outlined.

88. Plaintiff prays for swift relief as required by Federal Law.

89. Imposition of enforcement and sanctions are just and proper.

90. Plaintiff prays for such other relief to which Plaintiff may be justly entitled.

91. Damages which include pain, suffering, anguish, intentionally inflicted harm.

92. Exemplary Damages: The conduct committed by Defendant(s) against Plaintiff is the type of conduct

    evidencing actual malice on Defendant(s) part that allows the imposition of exemplary damages. Plaintiff

    additionally brings this suit for these damages, which exceed the minimum jurisdictional limits of State

    court.

93. Plaintiff prays that the citation and notice issue as required by law and that the Court grant injunctions,

    enforcement, sanctions, and all other relief requested in this petition.

94. Plaintiff prays that, on hearing, the Court enter a permanent injunction enjoining Defendant(s), in

    conformity with the allegations of this petition, from the acts set forth above.

95. Plaintiff prays for judgment against Defendants in the sum exceeding the minimum jurisdictional limits of

    this court for actual damages as alleged, for exemplary damages, for costs of court, loss-of-income and for

    general relief.

96. Plaintiff prays for fees, expenses, costs, loss of income and all legal fees.

97. Plaintiff prays for general relief and safety.

                                                THIRD CLAIM FOR RELIEF

                                      For Violation(s) of The Civil Rights Act of 1964

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                                                         Against All Defendants

98. Plaintiff requires the remedies provided in The Civil Rights Act of 1964 For Violation(s) of The Civil

   Rights Act of 1964 and Federal Law to compensate for the Crime(s) and Torts by the Defendants outlined

   within.

99. Plaintiff incorporates by reference ¶¶ 1-101.

100.          Each of the defendants: (a) knew or had access to the material non-public information about this

   Complaint and related Federal Complaints.

101.          Defendants, with knowledge of or reckless disregard for the truth, disseminated or approved the false

   statements specified above, which were misleading in that they contained misrepresentations and failed to

   disclose material facts necessary in order to make the statements made, in light of the circumstances under

   which they were made, not misleading.

102.          Plaintiff has suffered damages related to the policies and procedures conspired by the Defendant(s)

   and willfully executed by Defendants.

103.          By reason of such wrongful conduct, the Individual Defendants are liable pursuant to The Rules of

   Civil Procedure. As a direct and proximate result of these Defendants’ wrongful conduct, Plaintiff suffered

   damages in connection with the improper legal mistreatment received here.

104.          Plaintiff prays for relief from the schemes and harassment outlined.

105.          Plaintiff prays for swift relief as required by Federal Law.

106.          Imposition of enforcement and sanctions are just and proper.

107.          Plaintiff prays for such other relief to which Plaintiff may be justly entitled.

108.          Damages which include pain, suffering, anguish, intentionally inflicted harm.

109.          Exemplary Damages: The conduct committed by Defendant(s) against Plaintiff is the type of

   conduct evidencing actual malice on Defendant(s) part that allows the imposition of exemplary damages.

   Plaintiff additionally brings this suit for these damages, which exceed the minimum jurisdictional limits of

   State court.

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110.          Plaintiff prays that the citation and notice issue as required by law and that the Court grant

   injunctions, enforcement, sanctions, and all other relief requested in this petition.

111.          Plaintiff prays that, on hearing, the Court enter a permanent injunction enjoining Defendant(s), in

   conformity with the allegations of this petition, from the acts set forth above.

112.          Plaintiff prays for judgment against Defendants in the sum exceeding the minimum jurisdictional

   limits of this court for actual damages as alleged, for exemplary damages, for costs of court, loss-of-income

   and for general relief.

113.          Plaintiff prays for fees, expenses, costs, loss of income and all legal fees.

114.          Plaintiff prays for general relief and safety.

                                                               PRAYER

115. WHEREFORE, Plaintiff prays for judgement as follows: declaring this action to be proper action,

   awarding damages, including interest; and such relief as the Court may deem proper.

116. Plaintiff prays that the citation and notice issued as required by law and that the Court grant injunctions,

   enforcement, sanctions, and all other relief requested in this Petition.

117. Plaintiff prays that, on final hearing, the Court enter a permanent injunction enjoining Defendant(s), in

   conformity with the allegations of this petition, from the acts set forth above.

118. Plaintiff prays for judgment against all Defendant(s)s in the sum exceeding $100,000 and the minimum

   jurisdictional limits of this court for Plaintiff’s actual damages as alleged, for exemplary damages, for loss

   of income >$1,300,000, and for loss of related assets >$12,000,000, and for costs of court, and for general

   relief and relief the Court may deem proper >$10,000,000 and:

       w. Plaintiff prays for all legal fees at a rate of $250 per hour billed full hour only.

119. Plaintiff prays for litigation preparation fees of 250 per hour, interest, expenses, and costs

120. The Court is requested to make all other and further orders that are pleaded for or that are deemed

   necessary for the complete safety and financial stability of the Plaintiff.




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121. Plaintiff seeks relief, relief from continued and experienced crimes and torts, premeditated and

   aggressively perpetrated to include but not limited to:

    x. Violation(s) of 18 U.S. Code Attempt and conspiracy

    y. Violation(s) of 42 U.S. Code Americans With Disabilities Act of 1990

    z. Violation(s) of The Civil Rights Act of 1964

                                                      JURY DEMAND

122. Plaintiff demands a trial by jury. The right to appear pro se in a civil case in federal court is defined by

   statute 28 U.S.C. § 1654 and The Seventh Amendment to the U.S. Constitution ensures that citizens' civil

   cases can be heard and decided upon by a jury. The jury trial provides a forum for all the facts to be

   presented, evaluated impartially, and judged according to the law.

                                                                                         DATED: January 29, 2024
                                                                                           Respectfully Submitted,

                                                                                               J. Alan Konecny
                                                                                     125 W. Virginia Ave, # 265
                                                                                          Gunnison, CO. 81230
                                                                                             Tel: 970-452-9378
                                                                             alan@branddevelopmentpartners.com


                                                                                           By: /S/ J. Alan Konecny
                                                                                                   J. Alan Konecny
                                                                                                           Plaintiff
                                                                                                            Pro Se




                                                         Cc LIST

123. United States Federal Court, Denver Colorado
124. United States Department of Justice
125. Office of the Attorney General Colorado Department of Law Ralph L. Carr Judicial Building 1300
   Broadway, 10th Floor Denver, CO 80203 (720) 508-6000
126. United States House Judiciary Select Subcommittee on the Weaponization of the Federal Government
   Judiciary_Whistleblower@mail.house.gov
127. WhistleblowerOffice@mail.house.gov




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                                                    CERTIFICATE of SERVICE

    I certify that a true copy of the above was served on each attorney of record or party in accordance with the Rules of Civil

    Procedure by a FEDERAL MARSHAL on or about January 29, 2024, and by electronic service via Defendant’s email

    server / email address as outlined herein.



    This court has been requested to and is responsible for serving all plaintiff litigation to defendants by federal marshal to be

    compliant with THE AMERICANS WITH DISABILITIES ACT “ADA” and THE UNITED STATES FEDERAL RULES

    of CIVIL PROCEDURE and the right to appear pro se in a civil case in federal court is defined by statute 28 U.S.C. § 1654.

    According to https://www.usmarshals.gov/what-we-do/service-of-process “Service of Process”

    “For the service of any process, the form "USMS-285" is utilized by the U.S. Marshals Service and Federal Court. One

    complete set of this form (USM-285) and one copy of each writ for each individual, company, corporation, etc., to be served

    or property to be seized or condemned must be submitted.”

    Plaintiff has submitted form USM-285 for each Defendant

    “PLAINTIFF’S MOTION TO PROCEED IN DISTRICT COURT WITHOUT PREPAYING FEES OR COSTS AND TO

    PROCEED IN FORMA PAUPERIS” has been filed with this Court.

    The acts giving rise to this complaint have left Plaintiff unable to pay Service of Process Fees or Court Costs.



                                                                                                            /S/ J. Alan Konecny

                                                                                                                J. Alan Konecny

                                                                                                                           Plaintiff

                                                                                                                             Pro Se




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